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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
QUEEN'PRINYAH GODIAH NMIAA PAYNE'S
EL-BEY                                                         :

                                                             :     ORDER
                          Plaintiff,
                                                             :     20 Civ. 524 (LTS) (GWG)
        -v.-
                                                             :

LEYLAND CROCILLA et al.,                                     :

                                                             :
                           Defendants.
---------------------------------------------------------------X

GABRIEL W. GORENSTEIN, United States Magistrate Judge

        The plaintiff has filed a lengthy second amended complaint (Docket # 38) that does not
comply with Rule 8 of the Federal Rules of Civil Procedure, which requires a “short and plain”
statement of a claim. It also does not comply with Rule 10 of the Federal Rules of Civil
Procedure, which requires claims to be set forth in consecutively numbered paragraphs. While
the Court could permit the defendants to move to dismiss the complaint on this ground, the Court
believes it would be better to ask plaintiff at a conference if she would like the opportunity to file
a third amended complaint that would comply with these rules. A telephone conference to
discuss this issue shall take place on March 10, 2022, at 10:30 a.m. The Court will also discuss
with plaintiff her application to request the appointment of counsel and issues regarding service
of process.

       At the above date and time, the parties shall dial (888) 557-8511 and use access code:
6642374. (The public may also dial in but will be permitted only to listen.) The Court will record
the proceeding for purposes of transcription in the event a transcript is ordered. However, any
other recording or dissemination of the proceeding in any form is forbidden.

        When addressing the Court, parties must not use a speakerphone.

       Each attorney or unrepresented party is directed to ensure that all other attorneys or
unrepresented parties on the case are aware of the oral argument date and time. In addition, any
requests for an adjournment must be made in compliance with Judge Gorenstein’s rules
(available https://nysd.uscourts.gov/hon-gabriel-w-gorenstein).

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SO ORDERED.

Dated: February 22, 2022
       New York, New York
